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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re
                                                             Chapter 11
    FTX TRADING LTD, et al.,1
                                                             Case No. 22-11068 (JTD)
            Debtors.
                                                             (Jointly Administered)

    ALAMEDA RESEARCH LTD. and
    CLIFTON BAY INVESTMENTS LLC f/k/a
    ALAMEDA RESEARCH VENTURES LLC,

            Plaintiffs,
                                                             Adv. Pro. No. 23-50411 (JTD)
    v.

    MICHAEL KIVES, BRYAN BAUM, K5
    GLOBAL HOLDINGS LLC, K5 GLOBAL
    TECHNOLOGY LLC, MBK CAPITAL LP
    SERIES T, K5 GROWTH CO-INVEST I GP
    LLC, K5 GLOBAL GROWTH FUND I GP
    LLC, K5 GLOBAL VENTURES LLC,
    MOUNT OLYMPUS CAPITAL LP,
    MOUNT OLYMPUS CAPITAL LLC, K5
    GLOBAL GROWTH FUND II LP, K5
    GLOBAL GROWTH FUND II GP LLC,
    K5X FUND I LP, K5X FUND I LLC, and
    SGN ALBANY LLC,

            Defendants.


                  REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
         THE K5 DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT




1
  The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288 and
4063, respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the Debtors
and the last four digits of their federal tax identification numbers is not provided herein. A complete list of such
information may be obtained on the website of the Debtors’ claims and noticing agent at
https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is Unit
3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
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       Defendants Michael Kives, Bryan Baum, K5 Global Holdings, LLC, K5 Global

Technology, LLC, MBK Capital, LP - Series T, K5 Global Growth Co-Invest I GP, LLC, K5

Global Growth Fund I GP, LLC, K5 Global Ventures, LLC, Mount Olympus Capital, LP, Mount

Olympus Capital, LLC, K5 Global Growth Fund II, LP, K5 Global Growth Fund II GP, LLC, K5X

Fund I, LP, and K5X Fund I, LLC (collectively, the “K5 Defendants”) respectfully request that

the Court take judicial notice of fourteen (14) documents attached hereto in support of the K5

Defendants’ Motion to Dismiss Plaintiffs’ Complaint, filed contemporaneously herewith.

Specifically, the K5 Defendants request that the Court take judicial notice of the following

documents:

       1.      Exhibit A: A copy of a news article published by The Wall Street Journal on

October 21, 2021, titled “Crypto Exchange FTX Reaches $25 Billion Valuation,” available at

https://www.wsj.com/articles/crypto-exchange-ftx-reaches-25-billion-valuation-11634817601.

       2.      Exhibit B: A copy of a news article published by Forbes on October 6, 2021, titled

“Meet the World’s Richest 29-Year-Old: How Sam Bankman-Fried Made A Record Fortune In

The Crypto Frenzy,” available at https://www.forbes.com/sites/stevenehrlich/2021/10/06/the-

richest-under-30-in-the-world-all-thanks-to-crypto/.

       3.      Exhibit C: A copy of a news article published by Reuters on July 6, 2022, titled

“Crypto     exchange   FTX    has   ‘a   few   billion’    to   support    industry,”   available   at

https://www.reuters.com/technology/crypto-exchange-ftx-has-few-billion-support-industry-

bankman-fried-2022-07-06/.

       4.      Exhibit D: A copy of a news article published by The New York Times on May 14,

2022, titled “A Crypto Emperor’s Vision:                  No Pants, His Rules,” available at

https://www.nytimes.com/2022/05/14/business/sam-bankman-fried-ftx-crypto.html.


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        5.     Exhibit E: Debtors’ Chief Executive Officer John J. Ray III’s First Interim Report

to the Independent Directors on Control Failures at the FTX Exchanges, filed in the main

bankruptcy case associated with this adversary proceeding, Case No. 22-11068-JTD (“Main

Bankruptcy Case”) at D.I. 1242-1, on April 9, 2023.

        6.     Exhibit F: Plaintiff Alameda Research, Ltd.’s (“Alameda Research”) Official

Form 206Sum, Summary of Assets and Liabilities for Non-Individuals (“SOALs”), filed in the

Main Bankruptcy Case at D.I. 1027, on or about March 15, 2023.

        7.     Exhibit G:     Plaintiff Clifton Bay Investments LLC f/k/a Alameda Research

Ventures LLC’s (“Alameda Ventures”) SOALs, filed in the Main Bankruptcy Case at D.I. 1042,

on or about March 15, 2023.

        8.     Exhibit H:     Alameda Research’s SOALS, filed as an update in the Main

Bankruptcy Case at D.I. 2002, on or about July 31, 2023.

        9.     Exhibit I: Alameda Ventures’ SOALs, filed as an update in the Main Bankruptcy

Case at D.I. 2012, on or about July 31, 2023.

        10.    Exhibit J: Alameda Research’s most recently filed SOALs, filed in the Main

Bankruptcy Case at D.I. 2291, on or about August 31, 2023.

        11.    Exhibit K: Alameda Ventures’ most recently filed SOALs, filed in the Main

Bankruptcy Case at D.I. 2300, on or about August 31, 2023.

        12.    Exhibit L: Mr. Ray’s Declaration in Support of Chapter 11 Petitions and First Day

Pleadings, filed in the Main Bankruptcy Case at D.I. 24, on or about November 17, 2022.

        13.    Exhibit M:     A PowerPoint presentation Debtors delivered to the Court on

August 23, 2023, and filed in the Main Bankruptcy Case at D.I. 2244-1, on or about August 24,

2023.


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       14.     Exhibit N: Debtors’ Draft Plan of Reorganization – Term Sheet, filed in the Main

Bankruptcy Case at D.I. 2100, on or about July 31, 2023.

                                      LEGAL STANDARD

       15.     On a motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6),

“courts must consider the complaint in its entirety, as well as other sources courts ordinarily

examine . . . [such as] matters of which a court may take judicial notice.” Tellabs, Inc. v. Makor

Issues & Rights, Ltd., 551 U.S. 308, 322 (2007). Under Federal Rule of Evidence 201, the Court

may take judicial notice of any fact that is “not subject to reasonable dispute” because it: (1) is

generally known within the Court’s territorial jurisdiction; or (2) can be accurately and readily

determined from sources whose accuracy cannot reasonably be questioned. Fed. R. Evid. 201; see

also Feingold v. Graff, 516 F. App’x 223, 225 (3d Cir. 2013) (“A court may consider judicially

noticeable facts without converting a motion to dismiss into a motion for summary judgment.”).

This rule includes documents that are offered not for the truth of the facts therein, but for the

proposition that a fact was either publicly stated or widely believed. See Benak ex rel. All. Premier

Growth Fund v. All. Cap. Mgmt. L.P., 435 F.3d 396, 401 n.15 (3d Cir. 2006) (judicial notice is

appropriate for facts that “serve only to indicate what was in the public realm at the time, not

whether [those facts] are true”).

                                 EXHIBITS E–N
                DEBTORS’ FILINGS IN THE MAIN BANKRUPTCY CASE

       16.     Courts “may take judicial notice of documents from the docket of a bankruptcy

proceeding in considering a motion to dismiss under Rule 12(b)(6).” Meyers v. Heffernan, 740 F.

Supp. 2d 637, 640 n.4 (D. Del. 2010); see also In re LandSource Cmtys. Dev. LLC, 485 B.R. 310,

315 (Bankr. D. Del. 2013) (“It is not unusual for a Court to take judicial notice of its docket.”); In

re Fed. Mogul Glob., Inc., 330 B.R. 133, 136 (D. Del. 2005) (taking “judicial notice of the entire

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docket in the bankruptcy cases”); In re Smalis, 554 B.R. 757, 759 n.1 (Bankr. W.D. Pa. 2016)

(“The matters presently pending before the Court are related to and inseparable from prior

proceedings. Therefore, this Court takes judicial notice of the related proceedings and will cite to

the record of the bankruptcy case and other adversary proceedings as relevant throughout this

Opinion.”). Courts may accordingly consider a debtor’s own filings in the main bankruptcy,

including declarations, affidavits, and SOALs. See, e.g., In re Charys Holding Co., Inc., Adv. No.

10-50211, 2010 WL 2788152, at *5 n.3 (Bankr. D. Del. Jul. 14, 2010) (noting on motion to dismiss

that “[a] debtor’s schedules and statements are among the public documents properly subject to

judicial notice”); In re New Century TRS Holdings, Inc., 390 B.R. 140, 148 (Bankr. D. Del. 2008)

(“I take judicial notice that the Debtors listed their pre-petition assets at $12,905,606,046.91 and

liabilities at $11,476,388,868.31 (as taken from the ‘total assets’ and ‘total liabilities’ columns on

the Summary of Schedules page of each Debtor’s bankruptcy schedules.”)) (reversed on other

grounds by In re New Century TRS Holdings, Inc., 407 B.R. 576 (D. Del. 2009)); see also In re

Ryan, 472 B.R. 714, 728 (E.D. Va. 2012) (“[T]he Court is duty bound to take judicial notice of its

own records . . . [and] may exercise its discretion to take judicial notice of the [debtor’s] schedules

in an adversary proceeding arising from the same bankruptcy case.”); In re Groff, Adv. No. 11-

00284-8-RDD, 2011 WL 6140744, at *3 (Bankr. E.D.N.C. Dec. 9, 2011) (taking judicial notice

on motion to dismiss of debtors’ schedules to determine whether plaintiffs met their burden to

plead insolvency).

       17.     Exhibits E and L are Mr. Ray’s First Interim Report and his First Day Declaration,

filed by Debtors in the Main Bankruptcy Case in April 2023 and November 2022, respectively.




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        18.     Exhibits F through K are Plaintiffs’ SOALs filed in the Main Bankruptcy Case in

March, July, and August 2023, containing their sworn attestations of their respective determined

assets and liabilities as of the petition date.

        19.     Exhibit M is a PowerPoint presentation that Debtors presented to this Court on

August 23, 2023, and filed in the Main Bankruptcy Case on August 24, 2023.

        20.     Exhibit N is Debtors’ Draft Plan of Reorganization – Term Sheet, filed in the Main

Bankruptcy Case on July 31, 2023.

        21.     Because these exhibits are offered to reflect Debtors’ publicly filed (and in the case

of Exhibits F though L, sworn) statements rather than for the truth therein, are matters of public

record, and are filed in the Main Bankruptcy Case, they are proper subjects of judicial notice.

                              EXHIBITS A–D
          NEWS ARTICLES TO SHOW WHAT WAS IN THE PUBLIC REALM

        22.     Courts regularly take judicial notice of news articles from reputable sources that

“indicate what was in the public realm at the time, not whether the contents of those articles were

in fact true.” Benak, 435 F.3d at 401 n.15 (“We see no basis to upset the District Court’s decision

to take judicial notice of newspaper articles supplied by appellees.”); see, e.g., In re Briscoe, 448

F.3d 201, 221 (3d Cir. 2006) (approving of district court’s judicial notice of “media-generated

publicity” to determine whether plaintiffs were aware of certain facts); Ieradi v. Mylan Labs., Inc.,

230 F.3d 594, 598 & n.2 (3d Cir. 2000) (taking judicial notice of New York Times article to show

what “the public learned”); Peters v. Del. River Port Auth. Of Pa. and N.J., 16 F.3d 1346, 1357

(3d Cir. 1994) (taking judicial notice of “newspaper accounts” to determine whether defendant

was the subject of political controversy); Blix Inc. v. Apple, Inc., C.A. No. 19-1869-LPS, 2020 WL

7027494, at *7 n.2 (D. Del. Nov. 30, 2020) (taking judicial notice of fact that “certain statements

were made,” rather than for “the truth of the statements”); Neuberger v. Gordon, 567 F. Supp. 2d

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622, 630 (D. Del. 2008) (taking judicial notice of newspaper article on motion to dismiss to

indicate matters in the public realm).

       23.     Exhibits A through D are all news articles from reputable outlets: The Wall Street

Journal, Forbes, Reuters, and The New York Times. They are offered not for their truth, but to

demonstrate that publications were telling the public that: (1) Plaintiffs’ managing member, Sam

Bankman-Fried, was a wealthy and savvy businessman who ran remarkably successful companies;

and (2) high-profile investors had invested in those companies. Because the articles are offered

merely to “indicate what was in the public realm at the time,” the Court may properly consider

them in connection with a motion to dismiss. Benak, 435 F.3d at 401 n.15; Neuberger, 567 F.

Supp. 2d at 630.

       24.     Accordingly, the K5 Defendants respectfully request that the Court grant their

Request for Judicial Notice.



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Dated: September 11, 2023   Respectfully submitted,
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